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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Frictionless World, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1100 W. 120th Ave., Suite 600
                                  Westminster, CO 80234
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Adams                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.frictionlessworld.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Frictionless World, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4238

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Frictionless World, LLC                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Frictionless World, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 30, 2019
                                                  MM / DD / YYYY


                             X   /s/ Daniel Banjo                                                         Daniel Banjo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ David V. Wadsworth                                                    Date September 30, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David V. Wadsworth 32066
                                 Printed name

                                 Wadsworth Garber Warner Conrardy, P.C.
                                 Firm name

                                 2580 West Main Street
                                 Suite 200
                                 Littleton, CO 80120
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-296-1999                  Email address      dwadsworth@wgwc-law.com

                                 32066 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Frictionless World, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Agtec Industries Pvt                                            Trade debt             Contingent                                                                      $338,553.00
 Ltd                                                                                    Disputed
 38-B, Udyog Vihar,
 Ecotech -II
 Greater Noida, U.P.
 201306
 India
 Atlas Denver                                                    Breach of contract                                                                                     $110,563.04
 Industrial, LP                                                  -commercial office
 12001 N. Central                                                lease agreement
 Expressway, Suite
 875
 Dallas, TX 75243
 Bluesea Trailer                                                 Trade debt             Contingent                                                                        $13,387.50
 Parts Co Ltd                                                                           Unliquidated
 Poli Huangdo                                                                           Disputed
 Qingdao China
 Changzhou                                                       Trade debt             Contingent                                                                        $16,500.00
 Henghao Special                                                                        Unliquidated
 Alloy Co., Ltd                                                                         Disputed
 No. 5-2, West Taihu
 Road
 Xinbei District
 Changzhou City JS
 China
 Frictionless LLC                                                                       Contingent                                                                  $12,645,740.62
 Room 608, Caifu                                                                        Unliquidated
 Guangchang,                                                                            Disputed
 Yanzheng Middle Rd                                                                     Subject to
 Wujin District,                                                                        Setoff
 Changzhou 213000
 CHINA




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Frictionless World, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hong Kong                                                       Trade debt             Contingent                                                                          $6,864.00
 Chinabase Intl. Grp.                                                                   Unliquidated
 4th Floor, B Block,                                                                    Disputed
 Jianhua Indst. Park
 No 207-208 Qi Gu
 Deng
 Shou Shandong
 Road, Hangzhou
 China
 Intradin Machinery                                              Trade debt             Contingent                                                                    $1,386,720.00
 Co [Huzhou]                                                                            Unliquidated
 No. 118 Dohui Road                                                                     Disputed
 Minhang District
 Shanghai 201109
 China
 Kenneth Wilmes                                                  Disputed               Contingent                                                                        $25,000.00
 1388 Mt. Moriah                                                 severance              Unliquidated
 Road                                                                                   Disputed
 Livermore, CO
 80536
 Ningbo NGP                                                      Trade debt                                                                                             $964,243.94
 Industry Co., Ltd.
 No. 88, Lane 666
 Jinshan Road
 Czone Jianbei
 Investment Center
 Ningbo
 China
 Sinotub Industry Co                                             Trade debt             Contingent                                                                        $20,496.00
 Ltd                                                                                    Unliquidated
 D-802 Pufa Plaza                                                                       Disputed
 1759 North
 Zhongshan Road
 Shanghai
 China
 Syndigo                                                         Trade debt                                                                                               $12,690.00
 833 E. South St.
 Stoughton, WI 53589
 Tiya International                                              Trade debt                                                                                           $1,119,369.50
 Co Ltd
 B12B Shenye Center
 9 Shangdong Rd
 Qingdao 266071
 China
 Yongkang Legend                                                 Trade debt             Contingent                                                                        $37,170.00
 Garden Machinery                                                                       Unliquidated
 Factory                                                                                Disputed
 No. 501 Xita Road
 Chengxi Industrial
 Zone
 Yongkang City,
 Zhejiang Prov.
 China

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Frictionless World, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Z.L. Investment                                                 Contested              Contingent                                                                                $0.00
 Room 102, No. 18                                                litigation claims      Unliquidated
 Xin Ya Road                                                     against Debtor         Disputed
 Wujin High-Tech                                                                        Subject to
 District, Changzhou                                                                    Setoff
 City
 Jiangsu Province,
 China
 Zhejiang Kc                                                     Trade debt             Contingent                                                                      $147,244.76
 Mechanical &                                                                           Unliquidated
 Electrical                                                                             Disputed
 No. 299 East Huaxi
 Road
 Gushan Yongkang
 Zhejiang
 China




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $17,727,792.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $26,223,116.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $17,565,086.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Frictionless World, LLC                                                                   Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attachment                                                                            $3,179,427.10                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                       Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                      Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Atlas Denver Industrial, LP v.                    Forcible entry and         Adams District Court                              Pending
               Frictionless World, LLC                           detainer                   1100 Judicial Center Dr.                          On appeal
               19CV31488                                                                    Brighton, CO 80601
                                                                                                                                              Concluded

       7.2.    Changzhou Zhong Lian                              Breach of                  American Arbitration                              Pending
               Investment Co. Ltd v. Daniel                      contracts, fraud           Association                                       On appeal
               Banjo, Frictionless World                                                    120 Broadway, 21st Floor
                                                                                                                                              Concluded
               LLC, Frictionless, LLC v. Li                                                 New York, NY 10271
               Zhixiang, Z.L. Investment and
               Changzhou Inter Universal
               Machine & Equipment Co.,
               Ltd.
               01-19-0001-1748
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 Debtor        Frictionless World, LLC                                                                      Case number (if known)



                Case title                                       Nature of case               Court or agency's name and               Status of case
                Case number                                                                   address
       7.3.     Wilmes v. Frictionless World,                    Breach of                    Boulder County Court                        Pending
                LLC et al.                                       Employment                   1777 6th Street                             On appeal
                19C757                                           Contract                     Boulder, CO 80302
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Wadsworth Garber Warner
                 Conrardy, PC
                 2580 W. Main St., Suite 200                                                                                   8/1/19,
                 Littleton, CO 80120                                                                                           9/16/19                    $105,000.00

                 Email or website address


                 Who made the payment, if not debtor?




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 Debtor        Frictionless World, LLC                                                                   Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates        Total amount or
                 the transfer?                                                                                                                       value
                 Address
       11.2.     r2 advisors llc
                 1350 17th Street, Suite 206
                 Denver, CO 80202                                                                                              8/5/19            $50,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers       Total amount or
                                                                                                                      were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                           Description of property transferred or                  Date transfer      Total amount or
                Address                                          payments received or debts paid in exchange             was made                    value
       13.1 Three Twenty-One Capital
       .    Partners
                5950 Symphony Woods Road,
                Suite 200
                Columbia, MD 21044                               Retainer                                                9/18/19                 $30,000.00

                Relationship to debtor



       13.2 Anderson Industrial Engines
       .    13423 Lynam Drive                                    Return of Honda engines not previously
                Omaha, NE 68106                                  paid for.                                               9/16/19                 $70,689.42

                Relationship to debtor



       13.3 Thomas P. Howard, LLC
       .    842 W. South Boulder Road,
                Suite 100
                Louisville, CO 80027                             Retainer                                                9/19                  $300,000.00

                Relationship to debtor



       13.4 Frictionless LLC
       .                                                         All transfers made to Frictionless in 2019.             2019                $4,611,143.40

                Relationship to debtor



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 4
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 Debtor      Frictionless World, LLC                                                                    Case number (if known)




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Frictionless World LLC 401k Plan                                                           EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

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 Debtor      Frictionless World, LLC                                                                    Case number (if known)



    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Barr Small Engine Repair                                      Greg Barr                            Warranty Parts                          No
       3-53 Armstrong Ave                                                                                                                         Yes
       Georgetown, ON
       L7G 4S1, Canada

       Dan Banjo                                                     Dan Banjo                            Prototype/demo equipment                No
       2807 Jay Road                                                                                      and tractor for                         Yes
       Boulder, CO 80301                                                                                  videography/customer
                                                                                                          service enhancements/
                                                                                                          product testing

       Public Storage                                                Paul Emig                            Demo Equipment                          No
       3150 S. 44th Street                                                                                                                        Yes
       Kansas City, KS 66106



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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 Debtor      Frictionless World, LLC                                                                    Case number (if known)



    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Anton Collins Mitchell LLP                                                                                                 2/28/17-present
                    303 E. 17th Avenue
                    Suite 600
                    Denver, CO 80203

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       See attachment



27. Inventories
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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 Debtor      Frictionless World, LLC                                                                    Case number (if known)



    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Hampton Smith                                                                   Various (spot
       .                                                                                    checks,
                                                                                            physicals,               Basis is physical and cycle counts of
                                                                                            cycle counts)            products on continuing basis

               Name and address of the person who has possession of
               inventory records
               Frictionless World, LLC



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Dan Banjo                                      2807 Jay Road                                       CEO, Member                           100
                                                      Boulder, CO 80301

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Paul Emig                                      10129 W. 119th Terrace                              VP Sales
                                                      Overland Park, KS 66213

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Hampton Smith                                  11704 Pecos Street, #101                            VP Operations
                                                      Denver, CO 80234

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Rob Germundson                                 15915 Vermillion Way                                CFO
                                                      Broomfield, CO 80023



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Ken Wilmes                                     1388 Mount Moriah Road                              VP Business                       April 2019-August
                                                      Livermore, CO 80536                                 Development                       2019


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.


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 Debtor      Frictionless World, LLC                                                                    Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Dan Banjo
       .    2807 Jay Road                                                                                                10/1/18-9/27/1    W2 salary and
               Boulder, CO 80301                                 $293,412.93                                             9                 distributions

               Relationship to debtor
               CEO/Member


       30.2                                                                                                                                W2 salary and
       .    Paul Emig                                                                                                                      2018 performance
               10129 W. 119th Terrace                                                                                    10/1/18-9/27/1    bonus paid in
               Overland Park, KS 66213                           $153,087.48                                             9                 2019.

               Relationship to debtor
               VP Sales


       30.3                                                                                                                                W2 salary and
       .    Hampton Smith                                                                                                                  2018 performance
               11704 Pecos Street, #101                                                                                  10/1/18-9/27/1    bonus paid in
               Denver, CO 80234                                  $109,131.44                                             9                 2019.

               Relationship to debtor
               VP Operations


       30.4                                                                                                                                W2 salary and
       .    Rob Germundson                                                                                                                 2018 performance
               15915 Vermillion Way                                                                                      10/1/18-9/27/1    bonus paid in
               Broomfield, CO 80023                              $153,576.58                                             9                 2019.

               Relationship to debtor
               CFO


       30.5                                                                                                                                W2 Salary and
       .    Kenneth Wilmes                                                                                                                 2018 performance
               1388 Mt. Moriah Road                                                                                      10/1/18-8/12/1    bonus paid in
               Livermore, CO 80536                               $175,665.93                                             9                 2019.

               Relationship to debtor
               VP


       30.6 Dan Banjo
       .    2807 Jay Road
               Boulder, CO 80301                                 Federal and State tax refunds: $96,795                  8/15/19

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

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 Debtor      Frictionless World, LLC                                                                    Case number (if known)




    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 30, 2019

 /s/ Daniel Banjo                                                       Daniel Banjo
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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SOFA #3 Attachment

                   Creditors Name                     Street Address 1                   Street Address 2                     City                  State   Country       Zip      Total Amount $
 ACCOUNTEMPS                                          P.O. BOX 743295                                                     LOS ANGELES                CA       US      90074‐3295     $17,715.91
 AGILITY LOGISTICS CORP                              BLDG 2, SUITE 300               14221 EAST 4TH AVENUE                  AURORA                   CO       US        80111       $301,593.38
 AGTEC INDUSTRIES PVT LTD                    38‐B, UDYOG VIHAR, ECOTECH ‐ II             GREATER NOIDA                                               U.P.     IN        201306       $27,316.00
 ALTAQUIP LLC                                    100 PRODUCTION DRIVE                                                       HARRISON                 OH       US        45030        $15,620.76
 ATLAS DENVER INDUSTRIAL LP                     C/O CEDAR RIDGE SERVICES     12001 N. CENTRAL EXPRESSWAY, SUITE 875           DALLAS                  TX      US        75243       $109,590.97
 BEANSTALK                                            1285 SIXTH AVE                                                        NEW YORK                 NY       US        10019        $25,085.55
 BRIGGS & STRATTON CORPORATION                   12301 W. WIRTH STREET                                                    WAUWATOSA                  WI       US        53222        $85,722.00
 BRUCE CLARK                                      2286 KENSINGTON WAY                                                    NEW BRAUNFELS                TX      US         78130        $6,840.00
 CHANGZHOU HENGHAO SPECIAL ALLOY CO., LTD       NO. 5‐2 , WEST TAIHU ROAD                XINBEI DISTRICT                 CHANGZHOU CITY               JS      CN                     $27,500.00
 CHANGZHOU KING‐TOWN                         INTERNATIONAL TRADE CO., LTD .1103,NO.50JUQIANJIE,CHANGZHOU,JIANG             CHANGZHOU              JIANGSU     CN                      $8,250.00
 CHASE BANK                                         1301 CANYON BLVD                                                         BOULDER                 CO       US        80301        $16,995.04
 CHASE COMMERCIAL LOAN                       PO BOX 6026 MAILCODE IL1‐0054                                                   CHICAGO                  IL      US      60680‐6026    $258,285.48
 CHASE COMMERCIAL PURCHASE CARD                     1301 CANYON BLVD                                                         BOULDER                 CO       US        80301       $354,716.47
 CHASE INK CREDIT CARD                              1301 CANYON BLVD                                                         BOULDER                 CO       US        80301        $89,415.74
 CONSTRUCTION CASUALTY INSURANCE                 3637 4TH STREET NORTH                                                  SAINT PETERSBURG              FL      US        33701         $9,000.00
 DAN BANJO                                             2807 JAY ROAD                                                         BOULDER                 CO       US        80301        $13,333.33
 ESTES EXPRESS LINES                                   PO BOX 25612                                                         RICHMOND                 VA       US      23260‐5612     $10,232.78
                                               Room 608, Caifu Guangchang,
 FRICTIONLESS LLC                                   Yanzheng Middle Rd                     Wujin District                  Changzhou              JIANGSU     CN        213000      $72,188.04
 HARTFORD FINANCIAL SERVICES, INC                     PO BOX 415738                                                         BOSTON                   MA       US      02241‐5738    $88,504.55
 INTRADIN                                          No.118 DUHUI ROAD                    MINHANG DISTRICT                   SHANGHAI                           US        201109      $438,480.00
 KAISER PERMANENTE                            MEMBERSHIP ADMINISTRATION                  PO BOX 711697                      DENVER                  CO        US      80271‐1697    $43,737.87
 LENERTZ INDUSTRIAL SUPPLY CO INC                  725 VENTURA STREET                                                       AURORA                  CO        US         80011      $84,998.88

 MID‐STATES DISTRIBUTING COMPANY            ATTN: ACCTS RECV/SHOW PAYMENTS               P.O. Box 64537                      ST. PAUL              MN         US                     $7,600.00
 NEXT STRATEGIC TECHNOLOGIES INC                420 EAST 58TH AVE STE 141                                                     DENVER               CO         US        80216        $28,359.44
 PRIMESOURCE STAFFING LLC                     10065 E HARVARD AVE, STE 230                                                    DENVER               CO         US        80231        $13,356.21
 R+L CARRIERS                                          PO BOX 10020                                                       PORT WILLIAM             OH         US      45164‐2000     $64,926.55
 REDDAWAY INC.                                    26401 NETWORK PLACE                                                        CHICAGO                IL        US          0          $8,225.67
 SAIA MOTOR FREIGHT LINE, LLC                         PO BOX 730532                                                           DALLAS               TX         US        75373       $98,955.75
 SCHNEIDER NATIONAL INC                               PO BOX 841831                                                           DALLAS               TX         US      75284‐1831     $20,801.19
 SOURCE ONE                                   NO. 298 YONG DING WEST ROAD        ECONOMIC DEVELOPMENT ZONE              TAIZHOU, JIANGSU                      CN        225300       $37,987.00
 THOMAS HOWARD                                  842 W. SOUTH BOULDER RD                   SUITE 100                         LOUISVILLE             CO         US        80027       $95,706.86
 TIYA INTERNATIONAL CO LTD                         B12B SHENYE CENTER                 9 SHANDONG RD                          QINGDAO                0         CN        266071      $118,630.69
 UPS                                                   LOCKBOX 577                                                       CAROL STREAM               IL        US      60132‐0577    $172,413.97
 US CBP PAYMENT                                      P.O. BOX 979126                                                         ST. LOUIS             MO         US      63197‐9000    $457,993.14

 WANDA TYRE                                 EASTSIDE TO JINGJINTANG HIGHWAY        YIXINGBU TOWN, BEICHEN               DISTRICT TIANJIN                      CN       300402       $28,652.10
 YONGKANG LEGEND GARDEN MACHINERY FACTORY          NO. 501 XITA ROAD               CHENGXI INDUSTRIAL ZONE        YONGKANG CITY, ZHEJIANG PROV.               CN         0          $34,454.00
 ZHEJIANG KC MECHANICAL & ELECTRICAL            NO. 299 EAST HUAXI ROAD               GUSHAN YONGKANG                      ZHEJIANG                           CN          0         $238,094.00
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SOFA 26d.1 Attachment
Chase Bank                        Anton, Collins, and Mitchell                  Siena Lending
1301 Canyon Blvd                  303 E. 17th Avenue, Suite 600                 220 North Green Street
Boulder                           Denver                                        Chicago
CO                                CO                                            IL
80302                             80203                                         60607

R2 Advisors                       Three Twenty‐One Capital Partners             Forbers M&A Group
1350 17th Street, Suite 210       5950 Symphony Woods Rd. Ste 200               8480 E Orchard Rd #2400
Denver                            Columbia                                      Greenwood Village
CO                                MD                                            CO
80202                             21044                                         80111

Integris Partners                 Peak View Partners                            Ariens
1099 18th St                      1610 Wynkoop St #150                          655 West Ryan Street PO Box 157
Denver                            Denver                                        Brillion
CO                                CO                                            WI
80202                             80202                                         54110‐1098

Champion                          Fruition Private Equity                       Cowen
12039 Smith Ave                   1331 17th St                                  300 Park St. Suite 480
Santa Fe Springs                  Denver                                        Birmingham
CA                                CO                                            MI
90670                             80202                                         48009

CIBC                              Aramar Capital Group                          Gordon Brothers
1550 Wetta St. Suite 520          489 5th Ave                                   800 Boylston Street, 27th Floor
Denver                            New York                                      Boston
CO                                NY                                            MA
80202                             10017                                         20199

Encina Business Credit            Focal Point Partners                          Crestmark
123 N. Wacker Drive, Suite 2400   11150 CA‐2 #1550                              3146 Hardin Street
Chicago                           Los Angeles                                   Castle Rock
IL                                CA                                            CO
60606                             90025                                         80109

Gibraltar Business Capital        Hitachi Business Finance                      Business Capital
400 Skokie Blvd #375              800 West University Dr.                       311 California Street
Northbrook                        Rochester                                     San Francisco
IL                                MI                                            CA
60062                             48307                                         94104

Ares Management LLC               Stonegate Capital                             Capital Peak Partners LLC
245 Park Avenue 41st Floor        123 N Wack Drive, Suite 1160                  50 Ivanhoe St
New York                          Chicago                                       Denver
NY                                IL                                            CO
10167                             60606                                         80220

Capital Value Advisors            Copley Equity Partners                        Grey Mountain Partners
101 University Blvd #400          150 Newport Avenue Extension                  1470 Walnut St
Denver                            Quincy                                        Boulder
CO                                MA                                            CO
80206                             2171                                          80302

Highline Group                    Houlihan Lokey
250 Fillmore St                   100 Crescent Ct.
Denver                            Dallas
CO                                TX
80206                             75201
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 Fill in this information to identify the case:

 Debtor name            Frictionless World, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       14,600,503.09

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       14,600,503.09


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            25,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       17,339,542.36


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         17,364,542.36




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $182.52



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.    Chase Bank                                               Operating account               6981                                  $203,269.16



                                                                            Accounts Receivable
           3.2.    Chase Bank                                               account                         7389                                  $565,145.84



                                                                            Accounts Payable
           3.3.    Chase bank                                               account                         7005                                             $0.00




           3.4.    PayPal                                                   Cash account                                                            $14,936.83




           3.5.    Chase Bank                                               Savings account                 3005                                $3,740,708.19



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $4,524,242.54
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Frictionless World, LLC                                                         Case number (If known)
                  Name



 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposits (Landlord may have offset)                                                                            $100,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepayments contracts, leases, insurance and taxes                                                                       $44,686.58




 9.        Total of Part 2.                                                                                                             $144,686.58
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         2,633,143.63    -                                   0.00 = ....              $2,633,143.63
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                               233,020.43   -                                  0.00 =....                  $233,020.43
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                           $2,866,164.06
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used   Current value of
                                                      physical inventory         debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Frictionless World, LLC                                                       Case number (If known)
                Name

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory: see attached
           spreadsheet                                                                      $0.00    Recent cost                    $6,439,446.91



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                     $6,439,446.91
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value               381,100.56 Valuation method                           Current Value                        0.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture including book cases,
           cabinets, partitions, chairs, tables                                       $83,139.78     Recent cost                         Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment: see attached list                                        $38,096.17     Recent cost                         Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Frictionless World, LLC                                                       Case number (If known)
                Name



 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2019 Ford F250 diesel truck (white)                              $45,246.92     Recent cost                         Unknown


           47.2.     2019 GMC Sierra truck (black)                                    $54,299.80     Recent cost                         Unknown


           47.3.     2019 GMC Sierra truck (white)                                    $55,069.05     Recent cost                         Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. Work trailer 1                                                   $491.09       Recent cost                                    $0.00


           48.2.     Work trailer 2                                                     $3,297.13    Recent cost                               $0.00


           48.3.     Trailer 1 accessories                                                 $66.54    Recent cost                               $0.00



 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Other machinery, fixtures and equipment: see
           attached list                                                             $694,003.18     Recent cost                               $0.00




 51.       Total of Part 8.                                                                                                               $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Frictionless World, LLC                                                       Case number (If known)
                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     Leasehold
                     improvements                                                     $56,148.48       Recent cost                          Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents, copyrights, trademarks, trade secrets
            -see attached list                                                         Unknown                                              Unknown



 61.        Internet domain names and websites
            Internet domain names and website -see
            attached list                                                              Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer master record list                                                Unknown                                              Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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 Debtor         Frictionless World, LLC                                                      Case number (If known)
                Name

 64.        Other intangibles, or intellectual property
            Unamortized Epicor software license and add
            on modules                                                                  $8,802.02                                             $0.00



 65.        Goodwill
            Goodwill                                                                   Unknown                                                $0.00



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            NOL's                                                                              Tax year 2016                         $524,558.00



            NOL's                                                                              Tax year 2018                          $96,795.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Claims against ZL Investments, CIU, Li Zhixiang, Li
            Mingsu, Li Jun, and Yin Gelei.                                                                                              Unknown
            Nature of claim
            Amount requested                                    $50,000,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Debtor         Frictionless World, LLC                                                      Case number (If known)
                Name

           Claims again Ken Wilmes for turnover of property,
           violation of non-compete, tortious interference with
           business.                                                                                                              $0.00
           Nature of claim
           Amount requested                                          $5,000,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Sportsman's club membership                                                                                      $3,300.00



           AICPA Membership                                                                                                   $655.00



           AICPA Membership                                                                                                   $655.00




 78.       Total of Part 11.                                                                                           $625,963.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 7
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 Debtor          Frictionless World, LLC                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $4,524,242.54

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $144,686.58

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,866,164.06

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $6,439,446.91

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $625,963.00

 91. Total. Add lines 80 through 90 for each column                                                       $14,600,503.09             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $14,600,503.09




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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SCHEDULE B.21-23 ATTACHMENT

  21     Finished Goods
 21.1    ACCESSORIES                                                 $35,339.02     Standard landed cost    $35,339.02
 21.2    ALL TERRAIN CARTS                                           $24,405.86     Standard landed cost    $24,405.86
 21.3    AUGERS                                                       $88,870.60    Standard landed cost    $88,870.60
 21.4    CHIPPER/SHREDDERS                                           $282,337.10    Standard landed cost    $282,337.10
 21.5    CLAM ICE AUGER                                              $855,113.73    Standard landed cost    $855,113.73
 21.6    GENERATORS                                                  $309,936.75    Standard landed cost    $309,936.75
 21.7    HITCHES                                                     $62,636.63     Standard landed cost    $62,636.63
 21.8    LOG SPLITTERS                                               $286,206.95    Standard landed cost    $286,206.95
 21.9    MOWERS                                                       $98,912.34    Standard landed cost    $98,912.34
 21.10   OEM                                                         $188,525.69    Standard landed cost    $188,525.69
 21.11   OTHER                                                        $14,584.01    Standard landed cost    $14,584.01
 21.12   PARTS                                                      $1,225,452.52   Standard landed cost   $1,225,452.52
 21.13   PHD/POST POUNDERS                                           $93,379.37     Standard landed cost    $93,379.37
 21.14   PLATE COMPACTORS                                            $117,571.90    Standard landed cost    $117,571.90
 21.15   PUMPS                                                        $58,595.24    Standard landed cost    $58,595.24
 21.16   RANCHEX                                                     $764,855.18    Standard landed cost    $764,855.18
 21.17   REDBACK                                                     $404,295.84    Standard landed cost    $404,295.84
 21.18   SNOW BLOWERS                                                $338,096.41    Standard landed cost    $338,096.41
 21.19   STRING TRIMMERS                                              $14,100.55    Standard landed cost    $14,100.55
 21.20   TILLERS                                                     $336,297.35    Standard landed cost    $336,297.35
 21.21   TROLLING MOTOR                                               $2,889.38     Standard landed cost     $2,889.38
 21.22   TROPHY STRIKE                                               $562,040.08    Standard landed cost    $562,040.08
 21.23   WIRE STRETCHERS                                             $25,927.99     Standard landed cost    $25,927.99
 22.10   Other inventory or supplies - Advance Inventory Payments    $240,007.48      Vendor Deposits       $240,007.48
 22.11   Other inventory or supplies - Inventory in Transit          $627,417.94    Standard landed cost    $627,417.94
 22.12   Other inventory or supplies - Inventory Reserve            ($618,349.00)    Reserve Estimate      ($618,349.00)
  23     Total of part 5                                                                                   $6,439,446.91
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SCHEDULE B.41 ATTACHMENT

                                                                                                                                       Current Value of
PART 7                                       General Description                                          NBV       Valuation Method   Debtors Interest
         Office Equipment, computers,      Office Equipment, computers, communication systems,
  41     communication systems, software   software                                                    $38,096.17         Cost            Unknown
 41.1                                      Telephony Telephony Depot/Fax-Deposit                    $608.30               Cost            Unknown
 41.2                                      D2R Solutions IT Buildout                                $4,568.38             Cost            Unknown
 41.3                                      D2R Solutions IT Buildout                                $1,330.74             Cost            Unknown
 41.4                                      VTI Security Security System (Deposit)                   $1,916.67             Cost            Unknown
 41.5                                      VTI Security Security System (Remainder)                 $2,104.46             Cost            Unknown
 41.6                                      VTI Security Security System (Remainder)                 $492.12               Cost            Unknown
                                           Capital Business System Printer&Staple Finisher for CS
  41.7                                     Team                                                     $419.10               Cost            Unknown
  41.8                                     Dell Business Credit Laptop                              $183.76               Cost            Unknown
  41.9                                     Apple Store IMAC 27"                                     $362.49               Cost            Unknown
 41.10                                     Dell Business Credit 3-OptiPlex 9020M BTX                $550.94               Cost            Unknown
 41.11                                     D2R Solutions Second Production shipping station         $724.46               Cost            Unknown
 41.12                                     Amazon.com 80" television                                $999.50               Cost            Unknown
 41.13                                     Dell Business Credit 4-Dell UltraSharp 24 Monitor        $282.34               Cost            Unknown
 41.14                                     Dell Business Credit 1-XPS 13 (9350)                     $390.41               Cost            Unknown
 41.15                                     B&H PHOTO Audio Equipment                                $1,454.48             Cost            Unknown
                                           Dell Business Credit 2-Dell Precision Tower 5810 XCTO
 41.16                                     Base                                                     $1,225.56             Cost            Unknown
 41.17                                     Dell Business Credit Computer and monitor                $1,437.69             Cost            Unknown
 41.18                                     Apple Online Computer and monitor                        $911.72               Cost            Unknown
 41.19                                     D2R Solutions Port expansion for IT room                 $846.49               Cost            Unknown
                                           D2R Solutions Additional Cabling & Installation for IT
 41.20                                     room                                                     $2,259.16             Cost            Unknown
 41.21                                     Dell Business Credit Computer                            $594.78               Cost            Unknown
 41.22                                     Epicor UCC/128 Processing                                $1,448.33             Cost            Unknown
 41.23                                     Dell Business Credit Monitors                            $711.79               Cost            Unknown
 41.24                                     D2R Solutions Tablet and cordless imager                 $908.73               Cost            Unknown
                                           Aspen Laser & Technology Kyocera 4200 Printer -
 41.25                                     Shipping Station                                         $426.91               Cost            Unknown
 41.26                                     Dell Business Credit Computer and monitors               $3,389.50             Cost            Unknown
 41.27                                     Dell Business Credit Computer and monitors               $2,524.75             Cost            Unknown
 41.28                                     Dell Business Credit Computer and monitors               $753.92               Cost            Unknown
 41.29                                     Dell Business Credit Computer and monitors               $2,394.52             Cost            Unknown
 41.30                                     D2R Solutions HP Expansion Module                        $1,874.20             Cost            Unknown
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SCHEDULE B.50 ATTACHMENT


                                                                                                                                           Current Value of
                                                 General Description                                          NBV       Valuation Method   Debtors Interest
  50     Other Machinery, Fixtures, Equipment                                                             $535,532.65
 50.10                                          Fork Lift #1 Crown Lift Trucks                         $0.00                  Cost            Unknown
 50.11                                          Fork Lift #2 Crown Lift Trucks                         $0.00                  Cost            Unknown
 50.12                                          Steel Dockboard Dockboard to unload/load               $69.79                 Cost            Unknown
 50.13                                          Standing Fork Lift Crown Lift Trucks                   $3,338.88              Cost            Unknown
 50.14                                          Wire Racks Wire Racks                                  $110.66                Cost            Unknown
 50.15                                          Rack Sytem Rack System(Downpayment)                    $4,046.40              Cost            Unknown
 50.16                                          Rack System Rack System (60% downpayment)              $8,092.81              Cost            Unknown
 50.17                                          Rack System Rack System (remainder)                    $2,251.21              Cost            Unknown
 50.18                                          Forklift Charger Crown Lift Trucks                     $195.48                Cost            Unknown
 50.19                                          Rider Scrubber Battery-Powered Rider Scrubber          $5,211.44              Cost            Unknown
 50.20                                          Wrapper Machine Victory Packaging                      $2,129.42              Cost            Unknown
                                                4-Wheel Sit Down Counterbalance Warehouse
 50.21                                          Equipment                                              $6,293.66              Cost            Unknown
 50.22                                          Fork Lift Charger 3 Phase 480 AC Input Charger         $677.15                Cost            Unknown
 50.23                                          Jamco Products Inc BS90 Flammable Locker               $232.80                Cost            Unknown
 50.24                                          RF Scanner Custom Hardware                             $1,506.84              Cost            Unknown
 50.25                                          RF Scanner Spare battery, holster, cradle              $295.94                Cost            Unknown
 50.26                                          Crown Lift Trucks Rack System (30% downpayment)        $7,182.50              Cost            Unknown
 50.27                                          Biometric Clock Warehouse Time Clock                   $531.87                Cost            Unknown
 50.28                                          Selective Rack Rack from Crown Lift                    $19,174.73             Cost            Unknown
                                                Air Compressor 7.5-HP 53-Gallon Rotary Screw
 50.29                                          Compressor                                             $1,772.40              Cost            Unknown
 50.30                                          Fork Lift Forks Extended length forks                  $366.77                Cost            Unknown
 50.31                                          Permit Permit for the rack system                      $829.76                Cost            Unknown
 50.32                                          Fridge Fridge in warehouse                             $898.24                Cost            Unknown
 50.33                                          Tools Warehouse tools                                  $940.10                Cost            Unknown
 50.34                                          Scanner Guns Scanner, battery, and holster             $1,839.62              Cost            Unknown
 50.35                                          Scissor Lift Above All Equipment                       $7,595.24              Cost            Unknown
 50.36                                          Fork Lift 4-Wheel Sit Down Counterbalance              $13,242.50             Cost            Unknown
 50.37                                           Uline Utlity Carts                                    $628.61                Cost            Unknown
 50.38                                          Uline Work Platforms                                   $2,055.95              Cost            Unknown
 50.39                                          Victory Packaging Strap Tensioner Wrapper              $4,931.52              Cost            Unknown
 50.40                                          Two Way Radio Two Way Radio                            $672.57                Cost            Unknown
 50.41                                          Crown Lift Trucks 84 Bays of Selective rack            $683.60                Cost            Unknown
 50.42                                          Two Way Radio Two Way Radio                            $521.18                Cost            Unknown
 50.43                                          AED Super Store Defribrillator                         $786.86                Cost            Unknown
                                                Sheet metal working tools Klutch Deluxe Foot Shear &
 50.44                                          Klutch Plate Shear                                     $1,656.58              Cost            Unknown
 50.45                                          Discount Two Way Radio Discount Two Way Radio          $735.02                Cost            Unknown
 50.46                                          Pneumatic Tool Pnuematic Bander                        $2,250.12              Cost            Unknown
 50.47                                          Tractor Tractor                                        $17,387.18             Cost            Unknown
 50.48                                          Crown Lift Trucks Fork Lift SP3520-30                  $23,950.57             Cost            Unknown
                                                Barreto Manufacturing Rototiller Model 1320 Serial
 50.49                                          #13019                                                 $2,118.26              Cost            Unknown
 50.50                                          Vectrax Lathe Lathe                                    $3,381.55              Cost            Unknown
 50.51                                          Sharp Mill/Acu-Rite Readout Mill                       $4,800.82              Cost            Unknown
 50.52                                          Welch Rack System                                      $62,847.38             Cost            Unknown
 50.53                                          Miller Miller 350P Welder                              $4,444.00
 50.54                                          Lift Trucks Encore RR with Battery & Charger           $31,459.92
 50.55                                          Sealed Air Insta Packer                                $5,538.60
                                                Arclight Dynamics, Cascade Steel Works Engineers'
 50.56                                          CNC Table                                              $16,118.97
 50.57                                          Tooling - HK Chinabase Tooling from HK Chinabase       $5,043.42
 50.58                                          Tooling - HK Chinabase Tooling from HK Chinabase       $707.14
 50.59                                          Tooling - HK Chinabase Tooling from HK Chinabase       $4,533.33
                                                Tooling - Packaging Corp of America Tooling -
 50.60                                          Packaging Corp of America                              $2,127.71
                                                Tooling - Packaging Corp of America Tooling- Print
 50.61                                          Plates                                                 $1,066.76
                                                Tooling- Packaging Corp of America Tooling- Cutting
 50.62                                          Die Bottom                                             $1,470.99
 50.63                                          Tooling- Source One Tooling- Ice Auger cutterhead      $4,410.71
 50.64                                          Tooling - HK Chinabase Tooling from HK Chinabase       $11,611.52
 50.65                                          Tooling - Ningbo NGP Tooling - Clam Ice Auger          $30,586.11
 50.66                                          Tooling - Agtec Tooling - Agtec Log Splitters          $4,880.95
                                                Air Compressor 10-HP 120-Gallon Rotary Screw
 50.67                                          Compressor                                             $1,858.86
 50.68                                          Lottman Oil 8000 Gallon Tank                           $7,183.45
 50.69                                          Conveyor Assembly Line Lynch Material Handling         $136,453.78
                                                Conveyor Assembly Line Lynch Material-Rough Cut
 50.70                                          Assembly                                               $17,181.02

 50.71                                          Conveyor Assembly Line Assembly Line Electrical Work $24,417.46
                                                Conveyor Assembly Line Crane & Runway System - RC
 50.72                                          line                                                 $6,203.92
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SCHEDULE B.60-61 ATTACHMENT


                                                                                                         Current Value of
                                                                         NBV          Valuation Method   Debtors Interest
         Patents, copyrights, trademarks, trade
  60     secrets
 60.10   Log Splitters                            US D681,701           Unknown          Intangible         Unknown
 60.11   Log Splitters                            US D706,318           Unknown          Intangible         Unknown
 60.12   Log Splitters                            US D706,319           Unknown          Intangible         Unknown
 60.13   Log Splitters                            US D706,843           Unknown          Intangible         Unknown
 60.14   Log Splitters                            US D789,997           Unknown          Intangible         Unknown
 60.15   Log Splitters                            US 9,381,668          Unknown          Intangible         Unknown
 60.16   Log Splitters                            US 10,011,040         Unknown          Intangible         Unknown
 60.17   Log Splitters                            CA 150,322            Unknown          Intangible         Unknown
 60.18   Log Splitters                            CA 156,312            Unknown          Intangible         Unknown
 60.19   Log Splitters                            CA 156,313            Unknown          Intangible         Unknown
 60.20   Log Splitters                            CA 156,314            Unknown          Intangible         Unknown
 60.21   Log Splitters                            CA 165,016            Unknown          Intangible         Unknown
 60.22   Log Splitters                            CA 2,850,939          Unknown          Intangible         Unknown
 60.23   Log Splitters                            CN ZL201330084643.5   Unknown          Intangible         Unknown
 60.24   Log Splitters                            CN ZL201430116885.2   Unknown          Intangible         Unknown
 60.25   Log Splitters                            CN ZL201430116993.X   Unknown          Intangible         Unknown
 60.26   Log Splitters                            CN ZL201430116886.7   Unknown          Intangible         Unknown
 60.27   Log Splitters                            CN ZL201530400856.6   Unknown          Intangible         Unknown
 60.28   String Trimmers                          US D757,121           Unknown          Intangible         Unknown
 60.29   String Trimmers                          US 9,743,582          Unknown          Intangible         Unknown
 60.30   String Trimmers                          CA 164,918            Unknown          Intangible         Unknown
 60.31   String Trimmers                          CA 2,867,727          Unknown          Intangible         Unknown
 60.32   String Trimmers                          CN ZL201530409190.8   Unknown          Intangible         Unknown
 60.33   Field and Brush Mowers                   US D757,122           Unknown          Intangible         Unknown
 60.34   Field and Brush Mowers                   CA 165,015            Unknown          Intangible         Unknown
 60.35   Field and Brush Mowers                   CN ZL201530420520.3   Unknown          Intangible         Unknown
 60.36   Equipment Shipping                       US 10,023,093         Unknown          Intangible         Unknown
 60.37   Equipment Shipping                       US 10,086,741         Unknown          Intangible         Unknown
 60.38   Equipment Shipping                       US 10,118,531         Unknown          Intangible         Unknown
 60.39   Frictionless World®                                            Unknown          Intangible         Unknown
 60.40   Dirty Hand Tools®                                              Unknown          Intangible         Unknown
 60.41   Ranchex®                                                       Unknown          Intangible         Unknown
 60.42   Trophy Strike®                                                 Unknown          Intangible         Unknown
 60.43   Vinsetta Tools®                                                Unknown          Intangible         Unknown
 60.44   Redback®                                                       Unknown          Intangible         Unknown
  61     Internet Domain Names and Websites
 61.10   clamwarranty.com                                               Unknown          Intangible         Unknown
 61.11   DIRTYHANDTOOL.COM                                              Unknown          Intangible         Unknown
 61.12   DIRTYHANDTOOLS.COM                                             Unknown          Intangible         Unknown
 61.13   DIRTYHANDTOOLS.NET                                             Unknown          Intangible         Unknown
 61.14   FRICTIONLESSWORLD.COM                                          Unknown          Intangible         Unknown
 61.15   RANCHEX.COM                                                    Unknown          Intangible         Unknown
 61.16   RANCHEXPARTS.COM                                               Unknown          Intangible         Unknown
 61.17   RANCHEXPRODUCTS.COM                                            Unknown          Intangible         Unknown
 61.18   redback-power.com                                              Unknown          Intangible         Unknown
 61.19   redback120v.com                                                Unknown          Intangible         Unknown
 61.20   redback40v.com                                                 Unknown          Intangible         Unknown
 61.21   redbackpower.us                                                Unknown          Intangible         Unknown
 61.22   redbackpowerna.com                                             Unknown          Intangible         Unknown
 61.23   redbackpowerusa.com                                            Unknown          Intangible         Unknown
 61.24   redbackpro.com                                                 Unknown          Intangible         Unknown
 61.25   trophystrike.com                                               Unknown          Intangible         Unknown
 61.26   vinsettaequipment.com                                          Unknown          Intangible         Unknown
 61.27   vinsettapowertools.com                                         Unknown          Intangible         Unknown
 61.28   vinsettatools.com                                              Unknown          Intangible         Unknown
         Case:19-18459-MER Doc#:1 Filed:09/30/19                                    Entered:09/30/19 16:15:47 Page33 of 43

 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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           Case:19-18459-MER Doc#:1 Filed:09/30/19                                                     Entered:09/30/19 16:15:47 Page34 of 43

 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Colorado Department Of Revenue                            Check all that apply.
           Tax Audit Compliance Div.                                    Contingent
           1375 Sherman St                                              Unliquidated
           Denver, CO 80203-2246                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           1999 Broadway                                                Contingent
           MS 5012 DEN                                                  Unliquidated
           Denver, CO 80202                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 5
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 Debtor       Frictionless World, LLC                                                                         Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $25,000.00    $13,650.00
           Kenneth Wilmes                                            Check all that apply.
           1388 Mt. Moriah Road                                         Contingent
           Livermore, CO 80536                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Disputed severance
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $338,553.00
           Agtec Industries Pvt Ltd                                                    Contingent
           38-B, Udyog Vihar, Ecotech -II                                              Unliquidated
           Greater Noida, U.P. 201306
           India                                                                       Disputed

           Date(s) debt was incurred                                               Basis for the claim:     Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $110,563.04
           Atlas Denver Industrial, LP                                                 Contingent
           12001 N. Central Expressway, Suite 875                                      Unliquidated
           Dallas, TX 75243                                                            Disputed
           Date(s) debt was incurred 9/2019
                                                                                   Basis for the claim:     Breach of contract -commercial office lease
           Last 4 digits of account number                                         agreement
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $13,387.50
           Bluesea Trailer Parts Co Ltd                                                Contingent
           Poli Huangdo
                                                                                       Unliquidated
           Qingdao China
                                                                                       Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                         Basis for the claim:     Trade debt
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $16,500.00
           Changzhou Henghao Special Alloy Co., Ltd
           No. 5-2, West Taihu Road                                                    Contingent
           Xinbei District                                                             Unliquidated
           Changzhou City JS                                                           Disputed
           China
                                                                                   Basis for the claim:     Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $520,000.00
           Dan Banjo                                                                   Contingent
           2807 Jay Road                                                               Unliquidated
           Boulder, CO 80301                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Rent
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 5
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 Debtor       Frictionless World, LLC                                                                 Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $12,645,740.62
          Frictionless LLC
          Room 608, Caifu Guangchang,                                           Contingent
          Yanzheng Middle Rd                                                    Unliquidated
          Wujin District, Changzhou 213000                                      Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,864.00
          Hong Kong Chinabase Intl. Grp.
          4th Floor, B Block, Jianhua Indst. Park                               Contingent
          No 207-208 Qi Gu Deng                                                 Unliquidated
          Shou Shandong Road, Hangzhou                                          Disputed
          China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,386,720.00
          Intradin Machinery Co [Huzhou]
          No. 118 Dohui Road                                                    Contingent
          Minhang District                                                      Unliquidated
          Shanghai 201109                                                       Disputed
          China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $964,243.94
          Ningbo NGP Industry Co., Ltd.
          No. 88, Lane 666 Jinshan Road                                         Contingent
          Czone Jianbei Investment Center                                       Unliquidated
          Ningbo                                                                Disputed
          China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,496.00
          Sinotub Industry Co Ltd
          D-802 Pufa Plaza                                                      Contingent
          1759 North Zhongshan Road                                             Unliquidated
          Shanghai                                                              Disputed
          China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,690.00
          Syndigo                                                               Contingent
          833 E. South St.                                                      Unliquidated
          Stoughton, WI 53589                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 5
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 Debtor       Frictionless World, LLC                                                                 Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,119,369.50
           Tiya International Co Ltd
           B12B Shenye Center                                                   Contingent
           9 Shangdong Rd                                                       Unliquidated
           Qingdao 266071                                                       Disputed
           China
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $37,170.00
           Yongkang Legend Garden Machinery
           Factory
           No. 501 Xita Road                                                    Contingent
           Chengxi Industrial Zone                                              Unliquidated
           Yongkang City, Zhejiang Prov.                                        Disputed
           China
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Z.L. Investment
                                                                                Contingent
           Room 102, No. 18 Xin Ya Road                                         Unliquidated
           Wujin High-Tech District, Changzhou City                             Disputed
           Jiangsu Province, China
                                                                             Basis for the claim:    Contested litigation claims against Debtor
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $147,244.76
           Zhejiang Kc Mechanical & Electrical
           No. 299 East Huaxi Road                                              Contingent
           Gushan Yongkang                                                      Unliquidated
           Zhejiang                                                             Disputed
           China
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Brian D. Koosed
           K&L Gates LLP                                                                              Line     3.14
           1601 K Street, NW
                                                                                                             Not listed. Explain
           Washington, DC 20006

 4.2       Kodey M. Haddox
           K&L Gates LLP                                                                              Line     3.14
           599 Lexington Avenue
                                                                                                             Not listed. Explain
           New York, NY 10022

 4.3       Nathan G. Osborn
           Montgomery, Little & Soran PC                                                              Line     3.2
           5445 DTC Pkwy, Suite 800
                                                                                                             Not listed. Explain
           Englewood, CO 80111


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 Debtor       Frictionless World, LLC                                                             Case number (if known)
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    25,000.00
 5b. Total claims from Part 2                                                                       5b.   +   $                17,339,542.36

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   17,364,542.36




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Facility lease of 1100
             lease is for and the nature of               West 120th Ave., Suite
             the debtor's interest                        600, Westminster, CO
                                                          80234
                  State the term remaining                29.5 months
                                                                                       Cedar Ridge Property Management
             List the contract number of any                                           12001 N. Central Expressway, Suite 875
                   government contract                                                 Dallas, TX 75243


 2.2.        State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                30 months
                                                                                       Clam Corporation
             List the contract number of any                                           12135 Brockton Lane N
                   government contract                                                 Rogers, MN 55374


 2.3.        State what the contract or                   Lease of warehouse
             lease is for and the nature of               space
             the debtor's interest

                  State the term remaining                23 months
                                                                                       Dan Banjo
             List the contract number of any                                           2807 Jay Road
                   government contract                                                 Boulder, CO 80301


 2.4.        State what the contract or                   Lease of Sharp
             lease is for and the nature of               multi-function printer
             the debtor's interest                        Contract no.
                                                          100-3647138-001
                  State the term remaining                23 months
                                                                                       Leaf Services
             List the contract number of any                                           PO Box 5066
                   government contract                                                 Hartford, CT 06115




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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         Case:19-18459-MER Doc#:1 Filed:09/30/19                                     Entered:09/30/19 16:15:47 Page40 of 43
 Debtor 1 Frictionless World, LLC                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Lease of Ice Machine
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                13 months
                                                                                     Pure Water Dynamics
             List the contract number of any                                         30 Kalamath Street
                   government contract                                               Denver, CO 80223


 2.6.        State what the contract or                   License Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                15 months
                                                                                     Stanley Black & Decker, Inc.
             List the contract number of any                                         1000 Stanley Drive
                   government contract                                               New Britain, CT 06053




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Dan Banjo                                                                           Z.L. Investment                    D
                                                                                                                                    E/F       3.14
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Frictionless World, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 30, 2019                      X /s/ Daniel Banjo
                                                                       Signature of individual signing on behalf of debtor

                                                                       Daniel Banjo
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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         Case:19-18459-MER Doc#:1 Filed:09/30/19                                     Entered:09/30/19 16:15:47 Page43 of 43




                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      Frictionless World, LLC                                                                     Case No.
                                                                                Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       September 30, 2019                                      /s/ Daniel Banjo
                                                                     Daniel Banjo/Chief Executive Officer
                                                                     Signer/Title




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